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                                                                                                          FILED
                                                                                                        U.S. District Court
                                                                                                         District of Kansas
                                     IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DJSTRICT OF KANSAS                                   DEC 2 6 2018
         ~~'Z)~'1. f \_ .~\\£~                                                                      Cle~ ct Court
                                                                                                    By      Deputy Clerk




         (Enter above the full name of the Plaintiff(s)

                                                                         Case Number 6:18-cv-1348-JTM-KGG
                                                                                          ~~~~~~~~




         ~trect_~~~e~ ~'5
         City
                                1   State

         (Enter above the full name and address of the
         Defendant in this action - list the name and
         address of any additional defendants on the back
         side of this sheet).
                                                  CIVIL COMPLAINT

         1.       Parties to this civil action:

                  (In item A below, place your name in the first blank and place your present address in the
                  second blank. Do the same for additional plaintiffs, if any, on the back side of this sheet) .

                  A.      Name of plaintiff       , " ' , , '" n   ' l    ._ .   , , ,   , -n   l


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           (In item B below, write the full name of the defendant in the first blank. Jn the second
           blank, write the official position of the defendant. Use item C for the names and positions
           of any additional defendants).                                          ~

           B       DefendantlJo,~U~\I, ~~It \),~\\j~~,                                                       is

                   emp loyed at                   N\ ~ \

           C.      Add itional Defendants
                                             - - - - - - - - - - - - - - - -- - --




    II.    Jurisdict ion:

           (Complete one or more of the fo llowi ng subparagraphs, A. , B. l , B.2., or B.3., whichever is
           applicable.)

           A. (If App licable) Diversity of cit ize nship and amou nt: ., \ ,..    t..
                   1.       Plaintiff is a cit izen of the State of      ~
                   2.       The first-named defendant above is either
                                    a. a citizen of the State of         ' \ -l.     ~        ; or
                                    b. a corporation incorporated under the laws of the State of
                                         --~ fli 5                and hav ing its principal place of bu siness
                                         in a State other than the State of which plaintiff is a cit izen.


                   3. The seco nd-named defendant above is e ither ' \             S
                                    a.      a cit izen of the State of        R_               ; or
                                    b.      a co rporatio n incorporated under the laws of the State of
                                    _______ and havi ng its principal place of business in a
                                    State other than the State of which plaintiff is a citizen.


                   (If there are more than two defendants, set forth the fo regoi ng information for each
                   additiona l defendant on a separate page and attach it to this complaint.)
                   Plaintiff states that the matter in controversy exceeds, exc lusive of interest and
                   costs, the sum of seventy-five thousand dollars ($75 ,000.00).


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             B.     (If app licable) Jurisd ict io n founded o n grounds other than diversity
             (Check any of the following w hi ch app ly to this case).


            ri1.            T his case arises under the fo llowing section of the Co nst itution of
                            the United States or statute of the United States (28 U.S .C. §1331):
                            Co nstitutio n, Artic le_ _ , Sectio n_ _
                            Statute, US Code, Title _ _ , Section _ _

             _ci2           Th is case ar ises because of vio lation of the c ivi l or eq ual rights,
                            privileges, or immu nities accorded to c it izens of, or persons with in
                            the jurisdiction of, the United States (28 U.S .C. §1343).

            H(3




     relief. State w hat each defendant did that v iolated the right(s) of the plaintiff, including
     dates and places of such co nduct by the defendant(s). Do not set forth legal arguments.
     If you intend to allege more than one c la im, number and set fort h each c laim in a separate
     paragraph. Attach an add itiona l sheet, if necessary, to set forth a short and plain statement


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            V.      Do you cla im/he wrongs alleged in yo ur compla int are co ntinuing to occur at the
            present time? Yes        NoD                 rso
            Vl.                   Do
                                  Yes
                                           l°tf     la im actual damages for the acts a lleged in yo ur co mplaint?
                                                         No l_JI

            VIL                  Do yo u cla im punitive mo netary damages?                                   Yes~            No D


            If yo u answered yes, state the amounts c la imed and the reaso ns you cla im you are entitled
            to    rec0ver money damages.

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    ¢       . ... r-.. ......   /\. . -     ~     " \ '          \ \)
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               VIII.   Administrative Procedures:

                       A.     Have the claims w hich yo u make in this civil act ion been presented through
                       any typ9'0f Administrative Procedure w ithin any government agency?
                       YesC2JI NoD

                       B.     If yo u answered yes, g ive the date your claims were presented,
                       how they were prese nted, and the result of that procedure :
                                 tJ\   • \   "    -   (\   _u       l   A   '   -   -   ~CJ




                       C.      If yo u answered no, g ive the reaso ns, if any, why the cla ims made in this
                       action have not been prese nted throu gh Admi nistrative Procedures:




        IX.    Related Litigation:

               Please mark the statement that pertains to this case:

                D             This cause, or a substantia ll y equiva lent complaint, was prev iously fil ed in
                              this court as case number                       and assigned to the Honorable
                              Judge~~~~~~~~~~~-

                 ~            Neither this cause, nor a substantially equivalent complaint, previously has
                              been filed in this court, and therefo rJlthis casr may be opened a~ ¥ orig inal
                              proceeding.




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                                                         ___,__J -
                                                                        JS'3~
                                                                    --- -
                                                            Telephone Number


                                  DESIGNATION OF PLACE OF TRIAL

    Plaintiff designates   _{_~Wichita,       0Kansas City, or 0Topeka} , Kansas as the
                                                  (Select One.
    location for the tria l in this matter.




                                      RE         T FOR TRIAL BY JURY

    Plaintiff requests trial by jury { ['S']!Yes or []No }




                                                                                ~
                                           (Select One)




    Dated: _ __
     (Rev. 10/15)




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